                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )      Civil No. 2:18-cv-00009
                                                      )      Judge Trauger
OAKLEY PHARMACY, INC., ET AL.,                        )
                                                      )
       Defendants.                                    )

                                            ORDER

       The plaintiff United States’ Consent Motion for Entry of a Preliminary Injunction Against

Defendant Larry Larkin (Docket No. 32) is GRANTED. It is hereby ORDERED that the

Temporary Restraining Order entered on February 7, 2019 (Docket No. 10) is hereby converted

to a preliminary injunction, the terms of which are hereby EXTENDED until further order of the

court. Defendant Larkin is hereby EXCUSED from attending the hearing on the plaintiff’s

request for a preliminary injunction, which the court is in the process of rescheduling from

February 21, 2019 to a later date.

       It is so ORDERED.

       ENTER this 20th day of February 2019.


                                                      ________________________________
                                                      ALETA A. TRAUGER
                                                      U.S. District Judge




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